Case 1:05-cv-01112-.]DT-STA Document 10 Filed 07/07/05 Page 1 of 3 Page|D 4

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WESTERN DISTRICT 0F TENNESSEE @,¢_; h _ fin
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Clara l\/Iartinez
109 Gibson Highway, 6B
Milan, Tennessee 38358
SSN: XXX-XX-XXXX
Plaintiff,
v. Civil Action No. 05-1112T
Jo Anne B. Barnhart
Commissioner of

Social Security,
Defendant.

ORDER
Wherefore, for good cause shown and it appearing to the court that Plaintiff
requires extra time to prepare Plaintiff’s brief, and and, because the United States Attorney
representing the government in this matter consents to the additional time requested,
lt is, accordingly, ordered, adjudged, and decreed that Plaintiff is granted an

additional period of time, up to and including August 6, 2005 to file a brief in reply to the

Dist Couri Judge

79”@°%/

government’s brief

 
  

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with Hule 58 and.'or_?Q (a) FRCP on

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Approved for entry:
\Koger / / /

 
 

ttorn for Plaintiff

P. O. ox 3338 '
Jackson, TN 38303- 338
901-424-1305

TN BPR # 006600

 
 
  

Certiflcate of Service
I certify that I have mailed a true and exact copy fo the foregoing Proposed Order
to Joseph Dycus, Assistant United States Attorney, 800 Federal Ofiice Building, 167 North Main

 

     
 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CV-01112 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Roger Stanfield

LAW OFFICE OF ROGER STANFIELD
P.O. BOX 3338

Jackson, TN 38303--333

Honorable .l ames Todd
US DISTRICT COURT

